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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,

                   Plaintiff,                      Case No. 21-cv-12193
                                                   Hon. Matthew F. Leitman
v.

ROBERT SAMUEL
SHUMAKE, JR., et al.,

               Defendants.
__________________________________________________________________/

     FINAL JUDGMENT AS TO DEFENDANT WILLARD L. JACKSON

      The Securities and Exchange Commission having filed a Complaint and

Defendant Willard L. Jackson (“Defendant”) having entered a general appearance;

consented to the Court’s jurisdiction over Defendant and the subject matter of this

action; consented to entry of this Final Judgment without admitting or denying the

allegations of the Complaint (except as to jurisdiction and except as otherwise

provided herein in paragraph VIII); waived findings of fact and conclusions of law;

and waived any right to appeal from this Final Judgment:




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                                          I.

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly, Section

10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. §

78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using

any means or instrumentality of interstate commerce, or of the mails, or of any

facility of any national securities exchange, in connection with the purchase or sale

of any security:

      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to make any untrue statement of a material fact or to omit to state a

      material fact necessary in order to make the statements made, in the light of

      the circumstances under which they were made, not misleading; or

      (c)    to engage in any act, practice, or course of business which operates or

      would operate as a fraud or deceit upon any person.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant or

with anyone described in (a).


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                                         II.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant is permanently restrained and enjoined from violating Section 17(a) of

the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or

sale of any security by the use of any means or instruments of transportation or

communication in interstate commerce or by use of the mails, directly or indirectly:

      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to obtain money or property by means of any untrue statement of a

      material fact or any omission of a material fact necessary in order to make the

      statements made, in light of the circumstances under which they were made,

      not misleading; or

      (c)    to engage in any transaction, practice, or course of business which

      operates or would operate as a fraud or deceit upon the purchaser.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant or

with anyone described in (a).




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                                         III.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant is permanently restrained and enjoined from violating Section 5 of the

Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any

applicable exemption:

      (a)   Unless a registration statement is in effect as to a security, making use

            of any means or instruments of transportation or communication in

            interstate commerce or of the mails to sell such security through the use

            or medium of any prospectus or otherwise;

      (b)   Unless a registration statement is in effect as to a security, carrying or

            causing to be carried through the mails or in interstate commerce, by

            any means or instruments of transportation, any such security for the

            purpose of sale or for delivery after sale; or

      (c)   Making use of any means or instruments of transportation or

            communication in interstate commerce or of the mails to offer to sell or

            offer to buy through the use or medium of any prospectus or otherwise

            any security, unless a registration statement has been filed with the

            Commission as to such security, or while the registration statement is

            the subject of a refusal order or stop order or (prior to the effective date

            of the registration statement) any public proceeding or examination


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             under Section 8 of the Securities Act [15 U.S.C. § 77h].

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant or

with anyone described in (a).

                                         IV.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, pursuant

to Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and Section 20(e)

of the Securities Act [15 U.S.C. § 77t(e)], Defendant is prohibited from acting as an

officer or director of any issuer that has a class of securities registered pursuant to

Section 12 of the Exchange Act [15 U.S.C. § 78l] or that is required to file reports

pursuant to Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)].

                                          V.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant is liable for disgorgement of $280,608, representing net profits gained as

a result of the conduct alleged in the Complaint, together with prejudgment interest

thereon in the amount of $26,305, disgorgement of $436,501, representing net

profits gained as a result of the conduct alleged in the Complaint, together with


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prejudgment interest thereon in the amount of $40,919 on a joint and several basis

with Defendant 420 Real Estate, LLC, and a civil penalty in the amount of $360,000

pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Sections

21(d)(3), 21(d)(5), and 21(d)(7) of the Exchange Act [15 U.S.C. §§ 78u(d)(3),

78u(d)(5), and 78u(d)(7)].    Defendant shall satisfy this obligation by paying

$1,144,333 to the Securities and Exchange Commission within 30 days after entry

of this Final Judgment.

      Defendant may transmit payment electronically to the Commission, which

will provide detailed ACH transfer/Fedwire instructions upon request. Payment may

also be made directly from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified

check, bank cashier’s check, or United States postal money order payable to the

Securities and Exchange Commission, which shall be delivered or mailed to

            Enterprise Services Center
            Accounts Receivable Branch
            6500 South MacArthur Boulevard
            Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number,

and name of this Court; Jackson as a defendant in this action; and specifying that

payment is made pursuant to this Final Judgment.




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      Defendant shall simultaneously transmit photocopies of evidence of payment

and case identifying information to the Commission’s counsel in this action. By

making this payment, Defendant relinquishes all legal and equitable right, title, and

interest in such funds and no part of the funds shall be returned to Defendant.

      The Commission may enforce the Court’s judgment for disgorgement and

prejudgment interest by using all collection procedures authorized by law, including,

but not limited to, moving for civil contempt at any time after 30 days following

entry of this Final Judgment.

      The Commission may enforce the Court’s judgment for penalties by the use

of all collection procedures authorized by law, including the Federal Debt Collection

Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil contempt for the

violation of any Court orders issued in this action.      Defendant shall pay post

judgment interest on any amounts due after 30 days of the entry of this Final

Judgment pursuant to 28 U.S.C. § 1961. The Commission shall hold the funds,

together with any interest and income earned thereon (collectively, the “Fund”),

pending further order of the Court.

      The Commission may propose a plan to distribute the Fund subject to the

Court’s approval. Such a plan may provide that the Fund shall be distributed

pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act of

2002. The Court shall retain jurisdiction over the administration of any distribution


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of the Fund and the Fund may only be disbursed pursuant to an Order of the Court.

      Regardless of whether any such Fair Fund distribution is made, amounts

ordered to be paid as civil penalties pursuant to this Judgment shall be treated as

penalties paid to the government for all purposes, including all tax purposes. To

preserve the deterrent effect of the civil penalty, Defendant shall not, after offset or

reduction of any award of compensatory damages in any Related Investor Action

based on Defendant’s payment of disgorgement in this action, argue that he is

entitled to, nor shall he further benefit by, offset or reduction of such compensatory

damages award by the amount of any part of Defendant’s payment of a civil penalty

in this action (“Penalty Offset”). If the court in any Related Investor Action grants

such a Penalty Offset, Defendant shall, within 30 days after entry of a final order

granting the Penalty Offset, notify the Commission’s counsel in this action and pay

the amount of the Penalty Offset to the United States Treasury or to a Fair Fund, as

the Commission directs. Such a payment shall not be deemed an additional civil

penalty and shall not be deemed to change the amount of the civil penalty imposed

in this Judgment. For purposes of this paragraph, a “Related Investor Action” means

a private damages action brought against Defendant by or on behalf of one or more

investors based on substantially the same facts as alleged in the Complaint in this

action.




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                                            VI.

       Jackson shall pay the total of disgorgement, prejudgment interest, and penalty

due of $1,144,333 to the Commission within 30 days of entry of this Final Judgment.

Payments shall be deemed made on the date they are received by the Commission

and shall be applied first to post judgment interest, which accrues pursuant to 28

U.S.C. § 1961 on any unpaid amounts due after 30 days of the entry of Final

Judgment. Prior to making the final payment set forth herein, Jackson shall contact

the staff of the Commission for the amount due for the final payment.

       If Jackson fails to make any payment by the date agreed and/or in the amount

agreed according to the schedule set forth above, all outstanding payments under this

Final Judgment, including post-judgment interest, minus any payments made, shall

become due and payable immediately at the discretion of the staff of the Commission

without further application to the Court.

                                        VII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth

herein, and that Defendant shall comply with all of the undertakings and agreements

set forth therein.




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                                         VIII.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for

purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code,

11 U.S.C. §523, the allegations in the complaint are true and admitted by Defendant,

and further, any debt for disgorgement, prejudgment interest, civil penalty or other

amounts due by Defendant under this Final Judgment or any other judgment, order,

consent order, decree or settlement agreement entered in connection with this

proceeding, is a debt for the violation by Defendant of the federal securities laws or

any regulation or order issued under such laws, as set forth in Section 523(a)(19) of

the Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                          IX.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court

shall retain jurisdiction of this matter for the purposes of enforcing the terms of this

Final Judgment.

                                          X.

      There being no just reason for delay, pursuant to Rule 54(b) of the Federal

Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment forthwith

and without further notice.

                                        /s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
                                        UNITED STATES DISTRICT JUDGE
Dated: June 2, 2022

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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on June 2, 2022, by electronic means and/or ordinary mail.

                                             s/Holly A. Ryan
                                             Case Manager
                                             (313) 234-5126




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